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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CAROLANN SENATOR-RUDAT,

             Plaintiff,                        CIVIL ACTION NO.
       v.                                      1:20-CV-02131-SEG
JAMES SOUTHARD, STEVE
SOUTHARD, and AUTO
MEMORIES CLASSIC CARS, LLC,
             Defendants.

                                  ORDER

      This case is before the Court on the Plaintiff’s Renewed Motion and Brief

for Default Judgment (Doc. 41). In this action, Plaintiff seeks damages for

fraud, breach of contract, conversion, and other causes of action relating to

Plaintiff’s purchase of several antique cars from Defendants.

      Rule 55 of the Federal Rules of Civil Procedure provides guidance to a

district court considering a plaintiff’s motion for default judgment.      Rule

55(b)(2) states that the court “may conduct hearings . . . when, to enter or

effectuate judgment, it needs to: (a) conduct an accounting; (b) determine the

amount of damages; (c) establish the truth of any allegation by evidence; or (d)

investigate any other matter.”
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      There is no categorical requirement that a hearing be conducted in all

default judgment proceedings to fix the appropriate level of damages. See,

e.g., S.E.C. v. Smyth, 420 F.3d 1225, 1232 n. 13 (11th Cir. 2005) (explaining

that an evidentiary hearing is not a per se requirement for entry of default

judgment and may be omitted if all essential evidence is already of record).

The Eleventh Circuit, however, has made it clear that a hearing should be held

in all but those “limited circumstances” where “any additional evidence would

be truly unnecessary to a fully informed determination of damages.” See id;

see also Safari Programs, Inc. v. CollectA Int’l Ltd., 686 F. App’x 737, 746-47

(11th Cir. 2017) (holding, where damages were neither “liquidated nor capable

of objectively ascertainable mathematical calculation,” that district court

“abused its discretion by entering the final default judgment before holding a

hearing to determine damages and injunctive relief.”).

      The limited circumstances that justify default judgment for money

damages without a hearing are not present in this case.           In a 65-count

complaint, Plaintiff seeks approximately $150,000 in damages, plus interest,

relating to financial injuries sustained in numerous transactions involving at

least eleven vehicles. Her evidence in support of such damages to date is a

brief declaration from Plaintiff. There are no receipts, contracts, or other forms

of documentary evidence on the record. “[A] court has an obligation to assure

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that there is a legitimate basis for any damage award it enters[.]” Anheuser

Busch, Inc. v. Philpot, 317 F.3d 1264, 1266 (11th Cir. 2003). A hearing is

necessary to make a fully informed determination as to damages.

      The parties are accordingly DIRECTED to appear at an evidentiary

hearing on Plaintiff’s Renewed Motion for Default Judgment. (Doc. 41.) The

hearing shall be held at 10 A.M. on September 8, 2022, in Room 2306

of the United States District Courthouse, 75 Ted Turner Drive SW,

Atlanta, Georgia 30303.

      At the evidentiary hearing, Plaintiff shall present an accounting of the

exact amount of damages Plaintiff claims in this case, along with evidence

supporting the claimed damages with respect to each vehicle. Plaintiff may

present evidence through witness testimony, authenticated documentary

evidence, and/or declarations or affidavits. By September 5, 2022, Plaintiff

shall file on the record of this case any documentary evidence Plaintiff

intends to present at the hearing.

      The Court recognizes that Plaintiff resides out of state. As such, Plaintiff

and/or any other witness may appear at the hearing either in person or by

Zoom. If any party wishes for a witness to appear by Zoom, the party shall so

notify the Courtroom Deputy Clerk at least three (3) days before the hearing.




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SO ORDERED this 25th day of August, 2022.




                            SARAH E. GERAGHTY
                            United States District Judge




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